                Case 3:18-cr-00533-RS Document 86 Filed 02/19/20 Page 1 of 2


     ALEX R. KESSEL (State Bar No. 110715)
 1
     LAW OFFICES OF ALEX R. KESSEL
 2   15910 Ventura Blvd., Suite 1030
     Encino, California 91436
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4   Email: KesselLawFirm@gmail.com
 5
     Attorney for Defendant
 6   LORIK PAPYAN

 7                                        UNITED STATES DISTRICT COURT
 8                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                          Case Number.: 3:18-cr-00533-RS-3

11                         Plaintiff,
                                                         ORDER CONTINUING STATUS
                   vs.                                   CONFERENCE, AND EXCLUDING TIME
12

13
      HAKOB KOJOYAN, LORIK PAPYAN,
14    and STEPHEN SILVERMAN
                     Defendants,
15

16

17
             UPON STIPULATION OF THE PARTIES AND GOOD CAUSE having been shown:
18
     It is hereby Ordered that the status conference currently set for February 25, 2020 is continued to May
19

20   26, 2020. The Court finds that failing to exclude the time between February 25, 2020, and May 26,

21   2020, would deny counsel the reasonable time necessary for effective preparation, taking into account
22   the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).
23
            The Court further finds that the ends of justice served by excluding the time from February 25,
24
     2020, through and including May 26, 2020, from computation under the Speedy Trial Act outweigh
25
     the best interests of the public and the defendant in a speedy trial.
26
27   //

28   //


                                                           1
               Case 3:18-cr-00533-RS Document 86 Filed 02/19/20 Page 2 of 2


            Having made these findings, it is hereby ORDERED that the time from February 25, 2020
 1

 2   through and including May 26, 2020 is excluded from computation under the Speedy Trial Act. 18

 3   U.S.C. § 3161(h)(7)(B)(iv).

 4                                 WK day of February 2020.
            IT IS SO ORDERED this _____
 5

 6

 7                                                     THE HONORABLE RICHARD SEEBORG
                                                       United States District Judge
 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28


                                                      2
